  Case 1:20-cv-02499 Document 1 Filed 08/19/20 USDC Colorado Page 1 of 15




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.

DAVID NUSS,

       Plaintiff,

       v.

NOBLE ENERGY, INC., JEFFREY L. BERENSON,
JAMES E. CRADDOCK, BARBARA J. DUGANIER,
THOMAS J. EDELMAN, HOLLI C. LADHANI,
DAVID L. STOVER, SCOTT D. URBAN,
WILLIAM T. VAN KLEEF, and MARTHA B. WYRSCH,

      Defendants.
______________________________________________________________________________

   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS AND
                                JURY DEMAND
______________________________________________________________________________

       Plaintiff David Nuss (“Plaintiff”), by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants (defined below), alleges the following based upon personal

knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as to all other

matters, based upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys.

                                 NATURE OF THE ACTION

       1.      This is an action against Noble Energy, Inc. (“Noble Energy” or the “Company”)

and its Board of Directors (the “Board” or the “Individual Defendants”) for their violations of

Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C.

§§ 78n(a) and 78t(a), and Rule 14a-9 promulgated thereunder by the SEC, 17 C.F.R. § 240.14a-9,

in connection with the proposed acquisition (the “Proposed Transaction”) of Noble Energy by




                                                1
  Case 1:20-cv-02499 Document 1 Filed 08/19/20 USDC Colorado Page 2 of 15




Chevron Corporation (“Chevron”) and Chelsea Merger Sub Inc. (“Merger Sub”), a wholly-owned

subsidiary of Chevron.

                                 JURISDICTION AND VENUE

       2.      The claims asserted herein arise under and pursuant to Sections 14(a) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78n(a) and 78t(a)) and Rule 14a-9 promulgated thereunder by

the SEC (17 C.F.R. § 240.14a-9).

       3.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

the Exchange Act (15 U.S.C. § 78aa(c)) as the Company conducts business in this District.

       5.      In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mails, interstate telephone communications and the

facilities of the national securities exchange.

                                             PARTIES

       6.      Plaintiff is, and has been at all relevant times hereto, an owner of Noble Energy

common stock.

       7.      Defendant Noble Energy, an independent oil and natural gas energy company,

engages in the acquisition, exploration, development, and production of crude oil and natural gas

worldwide. Noble Energy’s “operations in the DJ Basin,” located in Colorado, “represent the

largest asset within [Noble Energy’s] US onshore asset portfolio.” Noble Energy operates assets

onshore in the U.S. and offshore in the Eastern Mediterranean and off the west coast of Africa.

Additionally, Noble Energy operates a midstream segment, which includes consolidated accounts



                                                  2
  Case 1:20-cv-02499 Document 1 Filed 08/19/20 USDC Colorado Page 3 of 15




of Noble Midstream, whose common units are publicly traded. The Company is incorporated in

Delaware. The Company’s common stock trades on the Nasdaq under the ticker symbol, “NBL.”

       8.      Defendant Jeffrey L. Berenson (“Berenson”) is a director of the Company.

       9.      Defendant James E. Craddock (“Craddock”) is a director of the Company.

       10.     Defendant Barbara J. Duganier (“Duganier”) is a director of the Company.

       11.     Defendant Thomas J. Edelman (“Edelman”) is a director of the Company.

       12.     Defendant Holli C. Ladhani (“Ladhani”) is a director of the Company.

       13.     Defendant David L. Stover (“Stover”) is President and Chief Executive Officer

(“CEO”) of the Company, as well as Chairman of the Board.

       14.     Defendant Scott D. Urban (“Urban”) is a director of the Company.

       15.     Defendant William T. Van Kleef (“Van Kleef”) is a director of the Company.

       16.     Defendant Martha B. Wyrsch (“Wyrsch”) is a director of the Company.

       17.     Defendants Berenson, Craddock, Duganier, Edelman, Ladhani, Stover, Urban, Van

Kleef, and Wyrsch are collectively referred to herein as the “Individual Defendants.”

       18.     Defendants Noble Energy and the Individual Defendants are collectively referred

to herein as the “Defendants.”

                                 SUBSTANTIVE ALLEGATIONS

   A. The Proposed Transaction

       19.     On July 20, 2020, Chevron issued a press release announcing that it had entered

into a definitive agreement to acquire all of the outstanding shares of Noble Energy in an all-stock

transaction. Under the terms of the agreement, Noble Energy shareholders would receive 0.1191

shares of Chevron for each Noble Energy share. The press release states, in pertinent part:




                                                3
Case 1:20-cv-02499 Document 1 Filed 08/19/20 USDC Colorado Page 4 of 15




              Chevron Announces Agreement to Acquire Noble Energy

   •      Brings high quality assets to Chevron’s global portfolio
   •      Proved reserves to be acquired for under $5 per oil equivalent barrel
   •      Delivers $300 million in anticipated annual pre-tax synergies
   •      Accretive to ROCE, free cash flow and earnings

   July 20, 2020 06:30 AM Eastern Daylight Time

   SAN RAMON, Calif.--(BUSINESS WIRE)--Chevron Corporation (NYSE: CVX)
   announced today that it has entered into a definitive agreement with Noble Energy,
   Inc. (NASDAQ: NBL) to acquire all of the outstanding shares of Noble Energy in
   an all-stock transaction valued at $5 billion, or $10.38 per share. Based on
   Chevron’s closing price on July 17, 2020 and under the terms of the agreement,
   Noble Energy shareholders will receive 0.1191 shares of Chevron for each Noble
   Energy share. The total enterprise value, including debt, of the transaction is $13
   billion.

   The acquisition of Noble Energy provides Chevron with low-cost, proved reserves
   and attractive undeveloped resources that will enhance an already advantaged
   upstream portfolio. Noble Energy brings low-capital, cash-generating offshore
   assets in Israel, strengthening Chevron’s position in the Eastern Mediterranean.
   Noble Energy also enhances Chevron’s leading U.S. unconventional position with
   de-risked acreage in the DJ Basin and 92,000 largely contiguous and adjacent acres
   in the Permian Basin.

                                     *      *       *

   Transaction Details

   The acquisition consideration is structured with 100 percent stock utilizing
   Chevron’s attractive equity currency while maintaining a strong balance sheet. In
   aggregate, upon closing of the transaction, Chevron will issue approximately 58
   million shares of stock. Total enterprise value of $13 billion includes net debt and
   book value of non-controlling interest.

   The transaction has been unanimously approved by the Boards of Directors of both
   companies and is expected to close in the fourth quarter of 2020. The acquisition is
   subject to Noble Energy shareholder approval. It is also subject to regulatory
   approvals and other customary closing conditions.

   The transaction price represents a premium of nearly 12% on a 10-day average
   based on closing stock prices on July 17, 2020. Following closing of the transaction,
   Noble Energy shareholders will own approximately 3% of the combined company.

   Advisors


                                            4
  Case 1:20-cv-02499 Document 1 Filed 08/19/20 USDC Colorado Page 5 of 15




       Credit Suisse Securities (USA) LLC is acting as financial advisor to Chevron. Paul,
       Weiss, Rifkind, Wharton & Garrison LLP is acting as legal advisor to Chevron. J.P.
       Morgan Securities LLC is acting as financial advisor to Noble Energy. Vinson &
       Elkins LLP is acting as legal advisor to Noble Energy.

                                         *      *       *

       About Chevron

       Chevron Corporation is one of the world's leading integrated energy companies.
       Through its subsidiaries that conduct business worldwide, the company is involved
       in virtually every facet of the energy industry. Chevron explores for, produces and
       transports crude oil and natural gas; refines, markets and distributes transportation
       fuels and lubricants; manufactures and sells petrochemicals and additives;
       generates power; and develops and deploys technologies that enhance business
       value in every aspect of the company's operations. Chevron is based in San Ramon,
       Calif. More information about Chevron is available at www.chevron.com.

       About Noble Energy

       Noble Energy is an independent oil and natural gas exploration and production
       company committed to meeting the world’s growing energy needs and delivering
       leading returns to shareholders. The Company operates a high-quality portfolio of
       assets onshore in the United States and offshore in the Eastern Mediterranean and
       off the west coast of Africa. Founded more than 85 years ago, Noble Energy is
       guided by its values, its commitment to safety, and respect for stakeholders,
       communities and the environment. For more information on how the Company
       fulfills its purpose: Energizing the World, Bettering People’s Lives®, visit
       www.nblenergy.com.

       20.     On August 11, 2020, Defendants caused to be filed with the SEC a Form S-4

Registration Statement (the “Registration Statement”) in connection with the Proposed

Transaction.

   B. The Registration Statement Contains Materially False and Misleading Statements
      and Omissions

       21.     The Registration Statement, which recommends that Noble Energy shareholders

vote in favor of the Proposed Transaction, omits and/or misrepresents material information

concerning: (i) Noble Energy’s and Chevron’s financial projections; (ii) the financial analyses

performed by Noble Energy’s financial advisor, J.P. Morgan Securities LLC (“J.P. Morgan”), in

                                                5
  Case 1:20-cv-02499 Document 1 Filed 08/19/20 USDC Colorado Page 6 of 15




connection with its fairness opinion; (iii) potential conflicts of interest involving J.P. Morgan; and

(iv) the sales process leading up to the Proposed Transaction.

       22.      The omission of the material information (referenced below) renders the following

sections of the Registration Statement false and misleading, among others: (i) Background of the

Merger; (ii) Noble Energy Board’s Recommendations and Its Reasons for the Transaction; (iii)

Opinion of Noble Energy’s Financial Advisor; and (iv) Noble Energy Unaudited Prospective

Financial Information.

       23.      Plaintiff may seek to enjoin the anticipated shareholder vote on the Proposed

Transaction unless and until the material misstatements and omissions (referenced below) are

remedied. Unless remedied, Noble Energy shareholders will be forced to make a voting decision

on the Proposed Transaction without full disclosure of all material information. In the event the

Proposed Transaction is consummated, Plaintiff seeks to recover damages resulting from

Defendants’ misconduct.

             1. Material Omissions Concerning Noble Energy’s and Chevron’s Financial
                Projections

       24.      The Registration Statement omits material information concerning Noble Energy’s

and Chevron’s financial projections.

       25.      Noble Energy management prepared four separate sets of forecasts utilizing

assumptions in different combinations: (i) the Base case, which purportedly utilizes Base case

commodity price assumptions and base activity level assumptions; (ii) the Strip+ case, which

purportedly utilizes Strip+ price commodity assumptions and base activity level assumptions;

(iii) the Strip+ Low case, which purportedly utilizes Strip+ price commodity assumptions and low

activity level assumptions; and (iv) the Upside case, which purportedly utilizes Upside commodity

price assumptions and base activity levels (collectively, the “Financial Projections”).


                                                 6
    Case 1:20-cv-02499 Document 1 Filed 08/19/20 USDC Colorado Page 7 of 15




       26.     The Registration Statement, however, fails to disclose: (1) when the sets of

projections were created; (2) the differences in the assumptions between the Base case, Strip+

Case, and Upside Case; (3) the reasons for including the Strip+ Low case, which purportedly

contains assumptions not present in the other cases; and (4) which set of projections that

management believed were most likely to be realized.

       27.     The Registration Statement also fails to disclose the following concerning the

Financial Projections: (1) all line items used to calculate: (i) EBITDAX, and (ii) free cash flow;

(2) the net income projections; and (3) a reconciliation of all non-GAAP to GAAP metrics.

       28.     Throughout the sales process, the Board expressed interest in entering into a

transaction that would increase the cash returned to stockholders, including through dividends. At

the Board’s request, J.P. Morgan performed a financial analysis of Chevron’s ability to maintain

its dividend and the potential impact of an acquisition of Noble Energy on Chevron (the “Chevron

Dividend Analysis”). This analysis purportedly demonstrated that Chevron “had financial

flexibility to continue operations and its current dividend payments until at least 2022, regardless

of whether commodity prices recovered.” The Board relied upon the Chevron Dividend Analysis,

among other factors, in recommending that shareholders approve the Proposed Transaction. 1

       29.     The Registration Statement, however, fails to disclose the Chevron Dividend

Analysis and Chevron’s financial projections.

       30.     When a company discloses non-GAAP financial metrics in a Registration




1
  The Board weighed several factors in recommending that Noble Energy shareholders vote in
favor of the Proposed Transaction, including that “Chevron has historically paid an above-market
stockholder dividend” and that “the Noble Energy Board believes that Chevron has significant
financial flexibility to continue its current dividend payments, even assuming another two years
of low commodity prices . . . [b]ased on financial analyses conducted at the request of the Noble
Energy Board[.]”

                                                7
    Case 1:20-cv-02499 Document 1 Filed 08/19/20 USDC Colorado Page 8 of 15




Statement that were relied upon by its board of directors in recommending that shareholders

exercise their corporate suffrage rights in a particular manner, the company must also disclose,

pursuant to SEC Regulation G, all projections and information necessary to make the non-GAAP

metrics not misleading, and must provide a reconciliation (by schedule or other clearly

understandable method) of the differences between the non-GAAP financial metrics disclosed or

released with the most comparable financial metrics calculated and presented in accordance with

GAAP. 17 C.F.R. § 244.100. 2

       31.     The disclosure of the aforementioned projected financial information is material

because it would provide Noble Energy shareholders with a basis to project Noble Energy’s and

Chevron’s future financial performance and would allow shareholders to better understand the

financial analyses performed by the Company’s financial advisor in support of its fairness opinion.

Shareholders cannot hope to replicate management’s inside view of the future prospects of the

Company. Without such information, which is uniquely possessed by Noble Energy and its

financial advisor, the Company’s shareholders are also unable to determine how much weight, if

any, to place on the Company’s financial advisor’s fairness opinion in determining whether to vote

for or against the Proposed Transaction.

       32.     Accordingly, in order to cure the materially misleading nature of the

aforementioned financial projections, Defendants must provide a reconciliation table of the



2
  Mary Jo White, Keynote Address, International Corporate Governance Network Annual
Conference: Focusing the Lens of Disclosure to Set the Path Forward on Board Diversity, Non-
GAAP, and Sustainability (June 27, 2016), https://www.sec.gov/news/speech/chair-white-icgn-
speech.html (footnotes omitted) (last visited Aug. 19, 2020) (“And last month, the staff issued
guidance addressing a number of troublesome practices which can make non-GAAP disclosures
misleading: the lack of equal or greater prominence for GAAP measures; exclusion of normal,
recurring cash operating expenses; individually tailored non-GAAP revenues; lack of consistency;
cherry-picking; and the use of cash per share data. I strongly urge companies to carefully consider
this guidance and revisit their approach to non-GAAP disclosures.”).

                                                8
  Case 1:20-cv-02499 Document 1 Filed 08/19/20 USDC Colorado Page 9 of 15




aforementioned non-GAAP metrics to their most comparable GAAP metrics. Defendants must

also disclose the line item projections that were used to calculate these metrics. Such projections

are necessary to make the non-GAAP projections included in the Registration Statement not

misleading.

       33.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to Noble Energy shareholders.

             2. Material Omissions Concerning J.P. Morgan’s Financial Analyses

       34.      In connection with the Proposed Transaction, the Registration Statement omits

material information concerning analyses performed by J.P. Morgan.

       35.      With respect to J.P. Morgan’s “Selected Transaction Multiples Analysis,” the

Registration Statement fails to disclose the individual multiples and financial metrics for the

transactions observed by J.P. Morgan in its analysis.

       36.      The Registration Statement fails to disclose the following concerning J.P. Morgan’s

“Discounted Cash Flow Analysis”: (1) all unlevered free cash flows that Noble Energy was

forecasted to generate during fiscal years 2021 through 2029 as used in the analysis, and all

underlying line items; (2) the terminal asset values for Noble Energy; (3) the individual inputs and

assumptions underlying the (i) discount rates ranging from 10% to 12%; and (ii) terminal value

growth rate ranging from (1.5%) to 1.5%; and (4) the number of fully diluted shares outstanding

at Noble Energy.

       37.      With respect to J.P Morgan’s “Analyst Price Target,” the Registration Statement

fails to disclose: (1) the individual price targets observed by J.P. Morgan in its analysis; and (2)

the sources thereof.

       38.      The valuation methods, underlying assumptions, and key inputs used by

J.P. Morgan in rendering its purported fairness opinion must be fairly disclosed to Noble Energy

                                                9
  Case 1:20-cv-02499 Document 1 Filed 08/19/20 USDC Colorado Page 10 of 15




shareholders. The description of J.P. Morgan’s fairness opinion and analyses, however, fails to

include key inputs and assumptions underlying those analyses. Without the information described

above, Noble Energy shareholders are unable to fully understand J.P. Morgan’s fairness opinion

and analyses, and are thus unable to determine how much weight, if any, to place on them in

determining whether to vote for or against the Proposed Transaction. This omitted information, if

disclosed, would significantly alter the total mix of information available to Noble Energy

shareholders.

             3. Material Omissions Concerning Potential Conflicts of Interest Involving J.P.
                Morgan

       39.      The Registration Statement omits material information concerning potential

conflicts of interest involving J.P. Morgan.

       40.      The Registration Statement provides that Noble Energy “has agreed to pay J.P.

Morgan an additional discretionary fee of up to $5 million upon the closing of the merger.”

       41.      The Registration Statement, however, fails to disclose the circumstances under

which Noble Energy will pay J.P. Morgan this discretionary fee.

       42.      Disclosure of a financial advisor’s compensation and potential conflicts of interest

to shareholders is required due to their central role in the evaluation, exploration, selection, and

implementation of strategic alternatives and the rendering of any fairness opinions. Disclosure of

a financial advisor’s potential conflicts of interest may inform shareholders on how much weight

to place on that analysis.

       43.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to Noble Energy shareholders.

             4. Material Omissions Concerning the Sales Process Leading up to the Proposed
                Transaction

       44.      The Registration Statement omits material information concerning the sales process

                                                10
  Case 1:20-cv-02499 Document 1 Filed 08/19/20 USDC Colorado Page 11 of 15




leading up to the Proposed Transaction.

       45.     The Registration Statement provides that:

       Noble Energy contacted eight infrastructure-focused entities to measure third-party
       interest in acquiring a portion of Noble Energy’s interests in the region. Noble
       Energy entered into confidentiality agreements with several potential
       counterparties, provided due diligence materials and engaged in discussions over
       several months. These efforts did not result in any offers that were projected to
       increase value.

       46.     The Registration Statement provides that Noble Energy negotiated a confidentiality

agreement with Chevron, “including the terms of a customary standstill provision binding on

Chevron . . . [that] contained a ‘fall away’ provision rendering the standstill inapplicable following

Noble Energy’s entry into a definitive agreement to effectuate a merger,” among other

circumstances. Noble Energy and Chevron ultimately executed the mutual confidentiality

agreement.

       47.     The Registration Statement, however, fails to disclose the terms of all

confidentiality agreements, including whether such agreements contained standstill provisions

with “don’t ask, don’t waive” (DADW) provisions (including their time of enforcement) that

would preclude interested parties from making superior offers for the Company.

       48.     Without this information, Noble Energy shareholders may have the mistaken belief

that potential buyers are or were permitted to submit superior proposals for Noble Energy, when

in fact they are or were contractually prohibited from doing so. This information is material

because a reasonable Noble Energy shareholder would want to know, prior to voting for or against

the Proposed Transaction, whether other potential buyers are or were foreclosed from submitting

a superior proposal.

       49.     The Registration Statement also fails to adequately disclose the terms and values of

the “offers” received by Noble Energy.


                                                 11
  Case 1:20-cv-02499 Document 1 Filed 08/19/20 USDC Colorado Page 12 of 15




        50.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to Noble Energy shareholders.

                                          COUNT I
          For Violations of Section 14(a) and Rule 14a-9 Promulgated Thereunder
                                   Against All Defendants


        51.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        52.     During the relevant period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false and misleading Registration Statement specified

above, which failed to disclose material facts necessary in order to make the statements made, in

light of the circumstances under which they were made, not misleading, in violation of Section

14(a) of the Exchange Act and Rule 14a-9 promulgated thereunder by the SEC.

        53.     Each of the Individual Defendants, by virtue of his/her positions within the

Company as officers and/or directors, were aware of the omitted information but failed to disclose

such information, in violation of Section 14(a) of the Exchange Act. Defendants, by use of the

mails and means and instrumentalities of interstate commerce, solicited and/or permitted the use

of their names to file and disseminate the Registration Statement with respect to the Proposed

Transaction. The Defendants were, at minimum, negligent in filing the materially false and

misleading Registration Statement.

        54.     The false and misleading statements and omissions in the Registration Statement

are material in that a reasonable shareholder would consider them important in deciding how to

vote on the Proposed Transaction.

        55.     By reason of the foregoing, Defendants have violated Section 14(a) of the Exchange

Act and Rule 14a-9 promulgated thereunder.


                                                12
  Case 1:20-cv-02499 Document 1 Filed 08/19/20 USDC Colorado Page 13 of 15




       56.     Because of the false and misleading statements and omissions in the Registration

Statement, Plaintiff is threatened with irreparable harm.

                                            COUNT II
                         Violations of Section 20(a) of the Exchange Act
                               Against the Individual Defendants

       57.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       58.     The Individual Defendants acted as control persons of the Company within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their senior positions

as officers and/or directors of the Company and participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false statements contained in the

Registration Statement filed with the SEC, they had the power to and did influence and control,

directly or indirectly, the decision-making of the Company, including the content and

dissemination of the false and misleading Registration Statement.

       59.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the issuance

of the statements or cause the statements to be corrected. As officers and/or directors of a publicly

owned company, the Individual Defendants had a duty to disseminate accurate and truthful

information with respect to the Registration Statement, and to correct promptly any public

statements issued by the Company which were or had become materially false or misleading.

       60.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the operations of the Company, and, therefore, is presumed to have had the power

to control or influence the particular transactions giving rise to the securities violations as alleged



                                                 13
 Case 1:20-cv-02499 Document 1 Filed 08/19/20 USDC Colorado Page 14 of 15




herein, and exercised the same. The Individual Defendants were provided with or had unlimited

access to copies of the Registration Statement and had the ability to prevent the issuance of the

statements or to cause the statements to be corrected. The Registration Statement at issue contains

the unanimous recommendation of the Individual Defendants to approve the Proposed

Transaction. Thus, those Individual Defendants were directly involved in the making of the

Registration Statement.

       61.     In addition, as the Registration Statement sets forth at length, and as described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Proposed Transaction. The Registration Statement purports to describe the various issues and

information that they reviewed and considered—descriptions which had input from the Individual

Defendants.

       62.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       63.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9

promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions

as controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of Defendants’ conduct, the Company’s

shareholders will be irreparably harmed.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction and



                                               14
 Case 1:20-cv-02499 Document 1 Filed 08/19/20 USDC Colorado Page 15 of 15




any vote on the Proposed Transaction, unless and until Defendants disclose and disseminate the

material information identified above to the Company’s shareholders;

       B.      In the event Defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Declaring that Defendants violated Sections 14(a) and 20(a) of the Exchange Act,

and Rule 14a-9 promulgated thereunder;

       D.      Awarding Plaintiff reasonable costs and expenses incurred in this action, including

counsel fees and expert fees; and

       E.      Granting such other and further relief as the Court may deem just and proper.

                                    JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.



Dated: August 19, 2020                              Respectfully submitted,

                                                    HALPER SADEH LLP

                                                    /s/ Daniel Sadeh
                                                    Daniel Sadeh, Esq.
                                                    375 Park Avenue, Suite 2607
                                                    New York, NY 10152
                                                    Telephone: (212) 763-0060
                                                    Facsimile: (646) 776-2600
                                                    Email: sadeh@halpersadeh.com

                                                    Counsel for Plaintiff




                                               15
